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                                                                                 FILED IN THE
                                                                             U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON




 1                                                                      Oct 02, 2020
                                                                            SEAN F. MCAVOY, CLERK
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 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                         No. 4:18-CR-6054-EFS-1
 8

 9
                                 Plaintiff,             ORDER OF FORFEITURE

10                    vs.
11
       SAMI ANWAR,
12

13
                                 Defendant.

14

15         Before the Court is the United States’ oral motion for entry of an Order of

16 Forfeiture. On March 6, 2020, the Court entered a Preliminary Order of Forfeiture, in

17
     accordance with 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2561(c), ECF No. 196,
18

19 forfeiting the following property to the United States:

20                $175,160.27 funds from KeyBank Account ending in 4371, seized on
21                or about November 8, 2018, pursuant to the execution of a Federal
                  Seizure Warrant
22

23         The United States published notice of the preliminary order of forfeiture. See

24 ECF No. 227. (publication dates April 25, 2020, through May 24, 2020). The time for

25
     filing petitions for said asset, as provided in Federal Rule of Criminal Procedure
26

27

28
                                                                                   ORDER – 1
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     32.2(c) and 21 U.S.C. § 853(n), expired on June 24, 2020, and no petitions were filed
 1

 2 (timely or not).

 3
           On March 12, 2020 and April 14, 2020, the United States sent notice of the
 4
     preliminary order of forfeiture to Warda Chaudhary, via regular and certified U.S.
 5

 6 mail. See ECF No. 228. The time for filing petitions for said asset expired on May 19,

 7
     2020, and no petitions were filed (timely or not).
 8

 9
           The United States filed a Superseding Indictment on February 5, 2019, charging

10 Defendant Sami Anwar, with Conspiracy to Commit Wire Fraud (Count 1) and

11
     Conspiracy to Commit Mail Fraud (Count 2) in violation of 18 U.S.C. § 1349, Wire
12

13
     Fraud (Counts 3-25) in violation of 18 U.S.C. § 1343, Mail Fraud (Counts 26-40) in

14 violation of 18 U.S.C. § 1341, Fraudulently Obtaining a Controlled Substance (Counts

15
     41-46) in violation of 21 U.S.C. § 843(a)(3), and Furnishing False or Fraudulent
16

17 Material Information (Count 47) in violation of 21 U.S.C. § 843(a)(4)(A). ECF No.

18 77. The United States sought forfeiture of assets, pursuant to 18 U.S.C. § 981(a)(1)(C)

19
     and 28 U.S.C. § 2461(c), for conviction(s) of the Conspiracy to Commit Wire Fraud
20

21 (Count 1), Conspiracy to Commit Mail Fraud (Count 2), Wire Fraud (Count 3 – 25)

22 and Mail Fraud (26 – 40), violations. Id at 84 – 86.

23
           On November 22, 2019, a jury found Defendant Anwar guilty of Counts 1-47.
24

25 As a result of the jury verdicts, facts presented at trial, and information submitted in

26 the United States’ Sentencing Memorandum, ECF No. 200 at 34-36, the United States

27
     seeks a money judgment in the amount of $5,648,786.69 U.S. currency.
28
                                                                                ORDER – 2
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           The Court has determined, based upon the evidence presented at trial and
 1

 2 Defendants’ sentencing hearing, and the information submitted by the parties, that

 3
     $5,648,786.69 is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
 4
     U.S.C. § 2461(c), and that the United States has established the requisite nexus
 5

 6 between the property and the offense.

 7
           Accordingly, IT IS HEREBY ORDERED:
 8

 9
           1.     The United States’ oral motion for entry of an Order of Forfeiture is

10                GRANTED.
11
           2.     The Court’s March 26, 2020 Preliminary Order of Forfeiture, ECF No.
12

13
                  196, is FINAL as to any and all persons and entities: the $175,160.27

14                funds from KeyBank Account ending in 4371 are hereby forfeited to the
15
                  United States.
16

17         3.     Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), Defendant

18                Sami Anwar shall forfeit to the United States the sum of $5,648,786.69
19
                  U.S. currency, which shall be a forfeiture money judgment representing
20

21                the total amount of proceeds obtained from the Wire Fraud and Mail

22                Fraud violations alleged in the Superseding Indictment, for which he was
23
                  found guilty.
24

25         3.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Forfeiture Order

26                is final as to the Defendant Sami Anwar at the time of sentencing and is
27
                  made a part of the sentence and included in the judgment.
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                                                                                 ORDER – 3
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          4.    Pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §
 1

 2              981(a)(1)(C) and 28 U.S.C. § 2461(c), the United States may seek
 3
                forfeiture of any other property of the Defendant up to the value of the
 4
                forfeitable property listed above.
 5

 6        5.    In accordance with Fed. R. Crim. P. 32.2(b)(3), the United States Drug
 7
                Enforcement Administration (and/or its agents) is authorized to seize this
 8

 9
                sum, whether held by the Defendants or by a third party (if proceedings

10              are commenced that comply with the statutes governing third-party
11
                rights), and to conduct any discovery proper in identifying or locating
12

13
                such property.

14        6.    The Court shall retain jurisdiction to enforce this Order, and to
15
                amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).
16

17        IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

18 and provide copies to all counsel and the U.S. Probation Office.

19

20              DATED this 2nd day of October 2020.

21

22
                         _______s/Edward F. Shea_____________
                                   EDWARD F. SHEA
23                          Senior United States District Judge
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                                                                               ORDER – 4
